Case 2:25-cv-10806-MAG-EAS ECF No. 68, PageID.2207 Filed 06/12/25 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
JANE DOE 1, and JANE DOE 2,
Plaintiffs,
vs.
MATTHEW WEISS; the REGENTS
OF THE UNIVERSITY OF
MICHIGAN; the UNIVERSITY OF
MICHIGAN; KEFFER
DEVELOPMENT SERVICES, LLC,
Defendants.

Case No. 2:25-cv-10806


DEFENDANT’S MOTION TO SET ASIDE CLERK’S ENTRY OF DEFAULT
PURSUANT TO RULE 55(c)
Pro se defendant Matthew Weiss respectfully moves this Court to set aside the Clerk’s entry of

default entered on June 5, 2025 pursuant to Federal Rule of Civil Procedure 55(c). The default

was entered despite the fact that Plaintiff never properly served Defendant. Defendant appears

solely for the purpose of contesting the entry of default and challenging the sufficiency of service

and expressly reserves all defenses, including those related to personal jurisdiction.



FACTUAL BACKGROUND

      1. Plaintiff filed the Complaint on March 21, 2025.

      2. On April 28, 2025, Plaintiff attempted to serve Defendant by certified mail. The mail was

         signed for by a postal clerk in a state where Defendant does not reside. Defendant never

         received the package. Defendant was not served through any other authorized method.

                                                 1
Case 2:25-cv-10806-MAG-EAS ECF No. 68, PageID.2208 Filed 06/12/25 Page 2 of 5




   3. Plaintiff waited 18 days before filing a proof of service with the Court on May 14, 2025

      (Exhibit A).

   4. Plaintiff then waited 21 more days and requested a Clerk’s Entry of Default on June 3,

      2025, relying solely on the erroneous delivery record.

   5. On June 2, 2025, the United States Postal Service mailed a certified letter to STINAR

      GOULD GRIECO & HENSLEY, PLLC along with the original, unopened service

      documents (Exhibit B). The letter explains that the package was never delivered.

      Specifically, the letter states that the mail for the intended address, at which the defendant

      does not reside, was on hold at the time it was received. And, a postal employee

      incorrectly signed for the certified letter and mixed it in with regular mail whereupon it

      was misdelivered and then returned to the post office.

   6. The Clerk entered default on June 5, 2025.

   7. On June 9, 2025, at 9:28 a.m., the Postal Service’s letter and original unopened

      documents were delivered to the front desk or mailroom of STINAR GOULD GRIECO

      & HENSLEY, PLLC (Exhibit C). Upon contacting the post office where the invalid

      service was signed for, defendant was provided the above explanation along with the

      following USPS tracking number for the unopened package and Postal Service letter sent

      to STINAR GOULD GRIECO & HENSLEY, PLLC: 9114 9022 0078 9604 5251 56.

      The lead clerk did not have a copy of the letter sent to Mr. Stinar available, but the

      Defendant is still working to obtain a copy and will submit the letter to the Court if it is

      received prior to filing this motion.




                                                2
Case 2:25-cv-10806-MAG-EAS ECF No. 68, PageID.2209 Filed 06/12/25 Page 3 of 5




   8. As of the date of this filing, Plaintiff has not withdrawn or amended the proof of service,

       has not moved to vacate the default, and has not informed the Court that the service upon

       which the default rests was conclusively invalid.

ARGUMENT


I. The Default Must Be Set Aside for Good Cause Under Rule 55(c)

       Federal Rule of Civil Procedure 55(c) provides that a court may set aside an entry of

default for “good cause.” Courts apply this standard liberally, particularly where a default is

based on improper service or lack of notice, which implicate basic due process rights.

       Here, it is undisputed that Defendant was not served in accordance with Rule 4. The

United States Postal Service — the very entity relied upon to confirm delivery — has formally

disavowed the original delivery confirmation, returned the service materials unopened, and

expressly stated that Defendant never received them. Furthermore, the signature on the certified

mail that the plaintiff submitted to the Court does not match the name of the Defendant. And, the

Defendant has not entered the state where the plaintiff attempted service at any time this year.

       The Court lacks personal jurisdiction over an unserved defendant, and entry of default

under these circumstances cannot stand.

II. Plaintiff’s Strategic Use of the Default Raises Serious Concerns

       Mr. Stinar accurately describes himself in court filings and in his own bio as “a nationally

recognized trial attorney… with extensive experience in complex litigation” amongst numerous

other professional accomplishments. Given Mr. Stinar’s legal background, the filing of a default

request while relying solely on a facially defective delivery record, raises significant questions.


                                                  3
Case 2:25-cv-10806-MAG-EAS ECF No. 68, PageID.2210 Filed 06/12/25 Page 4 of 5




       Even more troubling, after receiving the Postal Service’s letter confirming defective

service on the morning of June 9, 2025, Plaintiff took no corrective action.

       A new series of media reports was initiated shortly after the default was entered. This

sequence suggests that the default was used not to advance the merits of the case, but as a

strategic tool to create pressure, public visibility, and procedural leverage. There may also be

other tactical advantages gained via this strategy that the pro se defendant does not fully

understand but that the Court may recognize.

       A default judgment is a powerful sanction. Defendant respectfully requests that the Court

not allow it to be used as a weapon — especially where the moving party knew or should have

known that service was defective and that the default was not properly grounded.



CONCLUSION

For the foregoing reasons, Defendant respectfully requests that the Court:

   1. Set aside the Clerk’s Entry of Default entered June 5, 2025, pursuant to Rule 55(c); and

   2. Grant such other and further relief as the Court deems just and proper.

This motion is submitted solely to contest the entry of default and the sufficiency of service.

Defendant expressly reserves all rights and defenses, including objections to personal jurisdiction

and proper service under Rule 4.



DATED: June 12, 2025


Respectfully submitted,


                                                 4
Case 2:25-cv-10806-MAG-EAS ECF No. 68, PageID.2211 Filed 06/12/25 Page 5 of 5




Matthew Weiss

2075 W Stadium Blvd #1066

Ann Arbor, MI 48106

Pro Se Defendant



Attachments:
   •   Exhibit A – USPS Tracking and Delivery Confirmation showing April 28 delivery to

       state in which the defendant does not reside with signature belonging to a postal carrier.

       This document is already on file with the Court. It was submitted by the plaintiff as proof

       of service.

   •   Exhibit B – USPS letter from postmaster sent to STINAR GOULD GRIECO &

       HENSLEY, PLLC explaining service failure.

   •   Exhibit C – USPS Tracking and Delivery Confirmation showing above letter (Exhibit B)

       and unopened contents of original package were received by STINAR GOULD GRIECO

       & HENSLEY, PLLC at 9:28am on June 9, 2025.

   •   Certificate of Service – Confirming this motion and all exhibits will be mailed to Mr.

       Stinar on June 12, 2025.




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